Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 1 of 58




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

KNAPP LOGISTICS & AUTOMATION,                   §
INC.,                                           §
                                                §   CIVIL ACTION No. 13-cv-1112
       PLAINTIFF,                               §
                                                §   COMPLAINT FOR
V.                                              §   PATENT INFRINGEMENT
                                                §
R/X AUTOMATION SOLUTIONS, INC.,                 §   DEMAND FOR JURY TRIAL
                                                §
       DEFENDANT.                               §

                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Knapp Logistics & Automation, Inc. (“Plaintiff” or “Knapp”) files this

Complaint for patent infringement (“Complaint”) against Defendant R/X Automation Solutions,

Inc. (“Defendant” or “RXAS”), and alleges as follows:


                                       I.      PARTIES

       1.      Knapp is a Georgia corporation, having a principal place of business at 2124

Barrett Park Dr. Suite 100, Kennesaw, GA 30144.

       2.      Upon information and belief, Defendant is a Colorado corporation and has its

principal place of business at 105 S. Sunset Street, Suite K-L-M, Longmont, CO 80501.

Defendant can be served through its registered agent, Heather Chambers, at 525 Collyer Street,

Longmont, CO 80501.


                            II.    JURISDICTION AND VENUE

       3.      This is an action for patent infringement of United States Patent No. 8,601,776

(“the ‘776 Patent”), scheduled to be issued on December 10, 2013. The action arises under the

Patent Laws of the United States, 35 U.S.C. § 1 et seq.
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 2 of 58




        4.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1332 & 1338.

        5.      In addition, this Court has personal jurisdiction over Defendant because it has

knowingly and actively engaged in acts that have infringed, will infringe, and/or aid and abet in

the direct infringement of at least claims 1–5, 10 and 14–18, and possibly claims 6–9, 11–13, and

19–20, of Knapp’s ‘776 Patent.

        6.      Specifically, this Court has personal jurisdiction over Defendant based upon

Defendant’s sale of goods and transaction of business in the State of Texas and sufficient

minimum contact with the State of Texas, and with the Western District of Texas, in particular.

Upon information and belief, Defendant has transacted business within this district, has

committed tortious acts within this district, has committed tortious injury to Knapp in this

district, regularly does or solicits business in this district, derives revenue from goods used or

consumed in this judicial district, engages in other persistent courses of conduct in this district,

and is subject to the jurisdiction of this Court.

        7.      Venue in this Court is proper under 28 U.S.C. §§ 1391(b)–(c) & 1400(b) because

(i) Defendant is subject to personal jurisdiction in the Western District of Texas, and therefore is

a resident of that judicial district; and/or (ii) a substantial part of the events giving rise to the

claim occurred in the Western District of Texas.


                                   III.    THE CONTROVERSY

        8.      Knapp Logistics & Automation, Inc. (“Knapp”) is a member of the Knapp AG

family of companies headquartered out of Graz, Austria. Knapp AG is a global leader in

distribution logistics and software products that enable its customers to dramatically improve

their storage/buffering, order-picking, sorting and packing operations. Knapp AG and its


                                                    2
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 3 of 58




affiliates have over 55 years of experience and 1,500 material handling installations in 50

different countries. In the last 10 years, Knapp AG and its affiliates have installed over 500

plants for more than 300 customers in 38 countries on 5 continents.

        9.      On October 24, 2013, the United States Patent and Trademark Office (“PTO”)

notified Knapp that its patent application number 13/398,979 had been allowed. On November

4, 2013, Knapp paid the issue fee, and on November 20, 2013, the PTO further notified Knapp

that said application would issue as United States Patent No. 8,601,776 (“the ‘776 Patent”),

entitled “Systems and Methods of Automated Dispensing, Prescription Filling, and Packaging,”

on December 10, 2013. Exhibit A hereto is a true and correct copy of the Issue Notification

provided to Knapp. Exhibit B hereto is a true and correct copy of published application number

13/398,979. Exhibit C hereto is a true and correct set of the claims as allowed by the patent

examiner. 1

        10.     Plaintiff Knapp Logistics & Automation, Inc. is the owner by assignment of all

rights, title, and interest in and to the ‘776 Patent.

        11.     Defendant has made, offered for sale, sold, used, and/or caused to be used, and/or

imported systems and methods of automated dispensing, prescription filling, and packaging that

embody or practice at least claims 1–5, 10 and 14–18, and possibly claims 6–9, 11–13, and 19–

20, of Knapp’s ‘776 Patent. Defendant uses and causes to be used systems and methods of

automated dispensing, prescription filling, and packaging, such as those marketed as Defendant’s

Script Count Tablet & Capsule Dispensing Unit (“Script Count”).

        12.     An infringing Internet advertisement for the Script Count product is found at

http://www.rxas.com/testimonials/mail-order-central-fill-pharmacy/fulfillment-system/tablet-

1
 When Knapp receives the issued patent, it will amend this complaint to include a true and
correct copy of the ‘776 patent.

                                                    3
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 4 of 58




capsule-dispensing-units-and-system/. A true and correct copy of said advertisement is attached

hereto as Exhibit D. That advertisement shows that the Script Count product includes a counter

with one or more sensors configured to count the tablets, and a canister removably engaged with

a secure door of the counter, and that the counter is configured to count the tablets when the

secure door is open and closed for online replenishment.

       13.     Furthermore, Knapp and RXAS are direct competitors in competitive bidding

situations. In previous competitive bids, the requests for proposal have listed all of these

foregoing capabilities, and RXAS has submitted bids for those projects.

       14.     Therefore, manufacturing the Script Count product, as well as any use, sales,

offers to sell, or importation of the same are an unpermitted infringement of Knapp’s ‘776

Patent. It is also an unpermitted act of indirect infringement to make, import, use, sell or offer to

sell components that are uniquely adapted for use with the Script Count, or that Defendant knows

will be used in a Script Count product.

       15.     Upon information and belief, Defendant has sold over 100 Script Count machines

to the HEB Grocery Company, LP (“H-E-B”), in San Antonio Texas, and some or all of those

Script Count machines have been installed in H-E-B’s facility in or near San Antonio, Texas.

This belief is based upon communications between Mr. Michael Hahn of Knapp and Ms. Wendy

Faldet and Ms. Sheryll Ann Brown, both of whom are employed by H-E-B in its pharmacy

operations.

       16.     On November 12, 2013, Knapp’s counsel, William L. Warren, sent a letter to

Timothy Chambers, President of RXAS, demanding that Defendant immediately cease and desist

from any further actions that would constitute unpermitted infringement of the ‘776 Patent, and

warning Defendant not to submit a bid (due November 22, 2013) for the Kaiser Permanente 125-



                                                  4
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 5 of 58




921-01 Livermore Bldg. A & G CPP Pharmacy ATC Cell Replacement Project in California.

Despite Knapp’s warning, on or about November 22, 2013, Defendant submitted a bid on the

Livermore Project.

          17.   On November 22, 2013, Mr. Josef Mentzer of Knapp received a settlement

proposal from Defendant. In the settlement proposal, Defendant offered to not submit a bid on

the Livermore Project if all patent rights were waived and if Knapp accepted Defendant’s

agreement not to sell any product as defined by the claims of Knapp’s ‘776 Patent. The proposal

did not mention the accused Script Count product, or agree not to make, use, sell, offer for sale,

or import the Script Count product.

          18.   On November 27, 2013, Knapp’s counsel sent an email communication to Mr.

Wiedmann, Defendant’s presumptive outside intellectual property counsel, including a second

demand to cease and desist, and requesting a conference call on December 3, 2013 at 11:00 am

EST to discuss resolution of this matter without resorting to the court.

          19.   On December 3, 2013, at 10:30 am, Mr. Warren sent an email communication to

Mr. Wiedmann indicating that he would call as proposed. When Mr. Warren called Mr.

Wiedmann at 11:00 am, however, Mr. Warren was informed that Mr. Weidmann was

unavailable. Mr. Warren left a voicemail message requesting that Mr. Weidmann return Mr.

Warren’s call. To date, Mr. Warren has not received a response from Mr. Weidmann.

          20.   Upon information and belief, RXAS intends to continue marketing its Script

Count product against the ATD-L1P, Knapp’s product that practices the claims of the ‘776

Patent.




                                                 5
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 6 of 58




                                            IV.   CLAIMS

                                      COUNT I
                           INFRINGEMENT OF THE ‘776 PATENT

          21.   Knapp realleges and incorporates by reference the allegations of paragraphs 1–20

of this Complaint as if fully set forth herein.

          22.   Defendant has infringed the ‘776 Patent, either literally or under the doctrine of

equivalents, and either directly, or by inducing or contributing to the direct infringement of

others.

          23.   Defendant has continued its infringement despite notice of the existence of the

‘776 Patent, and despite evidence that its Script Count infringes said patent. Accordingly,

Defendant’s infringement is willful.

          24.   Defendant’s infringement of the ‘776 Patent has damaged and will continue to

damage Plaintiff Knapp.

          25.   Defendant’s infringement of the ‘776 Patent has caused and will continue to cause

Plaintiff Knapp irreparable harm unless enjoined by the Court.


                                       V.     JURY DEMAND

          26.   Knapp respectfully demands a jury trial on all claims and issues so triable.


                                 VI.        PRAYER FOR RELIEF

          WHEREFORE, Knapp prays for judgment and seeks relief as follows:

          (1)   The Court declare that Defendant has infringed the exclusive rights granted to

Knapp that are disclosed by the claims of the ‘776 Patent;

          (2)   The Court declare that the ‘776 Patent is valid and enforceable;




                                                  6
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 7 of 58




       (3)     The Court enjoin Defendant preliminarily and permanently, against further

infringement of the ‘776 Patent by Defendant, its officers, agents, servants, employees, affiliates,

subsidiaries, licenses, successors and assigns and those persons acting in concert with them

including related individuals and entities, customers, representatives, dealers, and distributors;

       (4)     The Court award to Knapp damages in an amount adequate to compensate Knapp

for Defendant’s infringement of the ‘776 Patent, but in no event less than a reasonable royalty

pursuant to 35 U.S.C § 284;

       (5)     The Court award to Knapp its costs, and pre- and post-judgment interest on its

damages, pursuant to 35 U.S.C. § 284;

       (6)     The Court declare this case to be exceptional and award Knapp its reasonable

attorney fees and costs under 35 U.S.C. § 285;

       (7)     The Court declare that Defendant’s acts of infringement, inducement of

infringement and/or contributory infringement of the ‘776 Patent has been knowing and willful;

       (8)     The Court increase all damages awarded to Knapp in this case to three times the

damages amount found by the jury or assessed by this Court pursuant to 35 U.S.C. § 284; and

       (9)     The Court award to Knapp such other and further relief as the Court may deem

just and proper.



Dated: December 10, 2013                      SUTHERLAND ASBILL & BRENNAN LLP

                                              /s/ Juan C. Garcia
                                              Juan C. Garcia
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                                                  7
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 8 of 58




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                                  *pro hac vice admission to be applied for.
                                  Attorneys for Plaintiff Knapp Logistics &
                                  Automation, Inc.




                                     8
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 9 of 58




             EXHIBIT A
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 10 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 11 of 58




             EXHIBIT B
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 12 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 13 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 14 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 15 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 16 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 17 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 18 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 19 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 20 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 21 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 22 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 23 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 24 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 25 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 26 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 27 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 28 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 29 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 30 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 31 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 32 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 33 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 34 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 35 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 36 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 37 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 38 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 39 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 40 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 41 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 42 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 43 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 44 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 45 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 46 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 47 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 48 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 49 of 58




             EXHIBIT C
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 50 of 58




                                  U.S. Patent No. 8,601,776
                   SYSTEMS AND METHODS OF AUTOMATED TABLET DISPENSING,
                            PRESCRIPTION FILLING, AND PACKAGING
                              Knapp Logistics Automation, Inc.
                              Sutherland Ref. No.: 24036-0010


                                         PATENTED CLAIMS

1.       A system for automated tablet dispensing comprising:
                a counter configured to count tablets, the counter comprising:
                        a secure door;
                        a sensor configured to count the tablets; and
                        a hopper assembly configured to receive the tablets through the secure
                door and transfer the tablets to the sensor; and
                a closed canister removably engaged with the secure door of the counter and
         configured to hold the tablets for delivery through the secure door of the counter and into
         the hopper assembly;
                wherein the counter is configured to count the tablets when the secure door of the
         counter is open and closed.


2.       The system of claim 1, wherein the secure door of the counter is configured to be open
when the canister is engaged with the counter.


3.       The system of claim 1, wherein the secure door of the counter is configured to be closed
when the canister is removed from the counter.


4.       The system of claim 1, wherein the canister comprises a secure door that is removably
engaged with the secure door of the counter.


5.       The system of claim 4, wherein the secure doors of the counter and the canister are
configured to be closed when the canister is removed from the counter; and wherein the secure
doors of the counter and the canister are configured to be open when the canister is engaged with
the counter.



23334642.1
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 51 of 58




6.       The system of claim 1, further comprising an electronic verification system comprising a
RF chip or an electronic serial number located on each of the counter and the canister.


7.       The system of claim 1, wherein the canister comprises a tamper-proof security tag.


8.       The system of claim 1, further comprising a locking mechanism configured to prevent
unauthorized access to the tablets in the counter and the canister when the canister is engaged
with the counter.


9.       The system of claim 8, wherein the locking mechanism comprises an automatic locking
mechanism configured to prevent unauthorized access to the tablets in the counter and the
canister once the canister is engaged with the counter.


10.      The system of claim 4, wherein the secure door of the canister comprises a reversible
door configured to reversibly open and close.


11.      The system of claim 4, wherein the secure door of the canister comprises a sliding door
configured to reversibly open and close.


12.      The system of claim 6, wherein the secure door of the counter is configured to be closed
until the canister is engaged with the counter and verification of the counter and the canister is
successfully completed via the electronic verification system.


13.      The system of claim 6, wherein the secure door of the counter is configured to be open
once verification of the counter and the canister is successfully completed via the electronic
verification system.


14.      The system of claim 1, wherein a capacity of the hopper assembly is equal to or greater
than a capacity of the canister.




23334642.1
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 52 of 58




15.        The system of claim 1, wherein the canister and the hopper assembly are configured to
allow the tablets to be emptied completely from the canister into the hopper assembly when the
canister is engaged with the counter.


16.        The system of claim 1, wherein the counter is configured to count the tablets when the
canister is removed from the counter.


17.        The system of claim 1, wherein the canister and the counter are configured to allow the
canister to be removed from the counter while the counter counts the tablets.


18.        The system of claim 1, wherein the canister and the counter are configured to allow the
tablets to be delivered from the canister into the hopper assembly while the counter counts the
tablets.


19.        The system of claim 1, wherein the canister comprises a security identification chip for
validation by a central computer system.


20.        The system of claim 1, wherein the counter further comprises a buffer assembly
configured to hold pre-counted tablets.




23334642.1
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 53 of 58




             EXHIBIT D
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 54 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 55 of 58
Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 56 of 58
                 Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 57 of 58
JS 44 (Rev. 12/12)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Knapp Logistics & Automation, Inc.                                                                           R/X Automation Solutions, Inc.


    (b) County of Residence of First Listed Plaintiff             Cobb County, Georgia                         County of Residence of First Listed Defendant                Boulder County, Colorado
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
Juan C. Garcia of Sutherland Asbill & Brennan LLP
1001 Fannin Street, Suite 3700, Houston, TX 77002
713-470-6157

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          35 U.S.C. § 271
VI. CAUSE OF ACTION Brief description of cause:
                                          Patent Infringement
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                  DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
12/10/2013                                                              /s/ Juan C. Garcia
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
               Case 1:14-cv-00319-RBJ Document 3 Filed 02/04/14 USDC Colorado Page 58 of 58
JS 44 Reverse (Rev. 12/12)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
